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                                                                                             Revised 12/2017
 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re                                                                  Case 18-10708
                                                                        Chapter 1
Patricio Reyes                      Debtor(s).
 SSN xxx-xx- 7432               SSN xxx-xx-
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                                  ORDER CONFIRMING CHAPTER 13 PLAN

 Definitions: Definitions used in the Debtor’s Plan apply to this Order.

 The Debtor’s plan was filed on 3/21/18 and (if applicable) (the “Plan”). The Plan was transmitted to
 creditors pursuant to Bankruptcy Rule 3015 and Local Rule 3015- 1(c) and 3015-2. The Court finds
 that the Plan meets the requirements of 11 U.S.C. § 1325.
 IT IS ORDERED THAT:


 The Plan is hereby CONFIRMED.




                                                                         /s/ Cecelia G. Morris
                                                                         _______________________
Dated: May 21, 2018
                                                                         Hon. Cecelia G. Morris
      Poughkeepsie, New York
                                                                         Chief U.S. Bankruptcy Judge
